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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 MICHAEL L. FULENWIDER,       §
                              §
     Plaintiff,               §
                              §
 v.                           §                          Case No. 4:19-cv-02556
                              §
 RADIUS GLOBAL SOLUTIONS LLC, §
                              §
     Defendant.               §


                STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Michael L. Fulenwider, and

Defendant, Radius Global Solutions LLC, hereby stipulate to the dismissal of the above-

styled case and that any claims that were raised or could have been raised in this action be

dismissed with prejudice, and with each side to bear its own costs and attorneys’ fees.


Respectfully submitted,

/s/ Nathan C. Volheim                              /s/ Whitney L. White
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                              CERTIFICATE OF SERVICE

       I hereby certify that I today caused a copy of the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system, which will be sent

to all attorneys of record.


                                                            s/ Nathan C. Volheim
                                                            Nathan C. Volheim




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